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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 THE UNITED STATES OF AMERICA,
                        Plaintiff,                   Civil Action No. 20-1580-RCL
 v.

 JOHN R. BOLTON,
                        Defendant.


                            MOTION FOR EXTENSION OF TIME

       Defendant John R. Bolton respectfully moves the Court for a one-week extension of time

within which to file a Reply in support of his Motion to Dismiss the Amended Complaint.

Defendant filed the Motion to Dismiss on July 16, 2020, and the Government’s brief in opposition

is due on July 31. Under LCvR 7(d), Ambassador Bolton’s Reply is currently due on August 7.

Defendant seeks an additional week, until and including August 14, to file his reply brief. Pursuant

to LCvR 7(m), Defendant’s counsel states that he reached out to counsel for the United States, Mr.

Morrell, to notify him of our intent to make the instant request, but Mr. Morrell has not responded

with the United States’ position on the motion. In support of his request, Defendant states as

follows:

       1.       Defendants’ counsel continue to be consumed with a variety of pressing obligations

in other matters. Mr. Cooper and Mr. Ohlendorf are also counsel of record for the plaintiffs in Cruz

v. FEC, No. 19-908 (D.D.C.), an expedited Bipartisan Campaign Reform Act challenge pending

before Judges Rao, Mehta, and Kelly, and they are currently engaged in preparing a combined

reply supporting the plaintiffs’ motion for summary judgment and opposition to the defendants’

cross-motion, which is due on August 11. Mr. Cooper also represents the Defendant-Appellant in

Jones v. DeSantis, No. 20-12003 (11th Cir.), which is now pending before the en banc Eleventh




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Circuit, and he will be additionally engaged in the coming weeks assisting in the preparation of

the Appellant’s reply brief before the en banc court, which is due on August 10. Mr. Cooper and

Mr. Kirk are also heavily involved in time-sensitive preliminary-injunction proceedings in

McCarthy v. Pelosi, No. 20-cv-1395 (D.D.C), which is pending before Judge Contreras, as well as

ongoing, time-sensitive preliminary-injunction proceedings in Immigrant Legal Resource Center

Freedom for Immigrants v. McFarland, 20-cv-966 (S.D. Cal.).

        2.       In addition, Mr. Kirk and Mr. Ohlendorf will both be out-of-town on long-

scheduled summer vacations during the week of August 3rd.

        3.       Plaintiff has offered no reason to deny the requested one-week extension, and it

does not appear that Plaintiff would be prejudiced if the extension is granted, since Plaintiff’s

request for injunctive relief is no longer pending, and since the monetary remedies the Government

has prayed will adequately protect its interests from any conceivable harm it might suffer because

of a one-week delay.

        4.       Given Counsel’s commitments over the coming weeks and the lack of any apparent

prejudice to Plaintiff, Defendant submits that there is good cause for a modest, one-week extension

of the deadline for his reply brief.

July 30, 2020                                        Respectfully submitted,

                                                     /s/ Charles J. Cooper
                                                     Charles J. Cooper, Bar No. 248070
                                                     Michael W. Kirk, Bar No. 424648
                                                     John D. Ohlendorf, Bar No. 1024544

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                                                     Counsel for Defendant John R. Bolton


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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 THE UNITED STATES OF AMERICA,

                       Plaintiff,
                                                    Civil Action No. 20-1580-RCL
 v.

 JOHN R. BOLTON,

                       Defendant.


                                    [PROPOSED] ORDER

       Pending before the Court is Defendant’s motion for a one-week extension of time within

which to file the Reply in support of his Motion to Dismiss. Upon consideration of the motion, and

for good cause shown, Defendant’s motion is GRANTED. Defendant’s Reply shall be filed on or

before August 14, 2020.

SO ORDERED.



Dated:_______________                             __________________________________
                                                   HONORABLE ROYCE C. LAMBERTH
                                                   United States District Court Judge
